                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA


                                                                CIVIL ACTION NO. 2:21-cv-748
 DYNAMIC INDUSTRIES, INC.,
 DYNAMIC INDUSTRIES                                             JUDGE IVAN L.R. LEMELLE
 INTERNATIONAL, LLC and DYNAMIC
 INDUSTRIES SAUDI ARABIA, LTD.                                  MAGISTRATE JUDGE JANIS VAN
                                                                MEERVELD
 VERSUS

 METLIFE - AMERICAN
 INTERNATIONAL GROUP - ARAB
 NATIONAL BANK COOPERATIVE
 INSURANCE COMPANY; ET AL.


  OPPOSITION TO MOTION TO DISMISS (R. DOC. 22) AND SUPPLEMENTAL
MEMORANDUM (R. DOC. 56) FILED BY MARSH & MCLENNAN COMPANIES, INC.

         Dynamic Industries, Inc. (“DI”), Dynamic Industries International, LLC (“DII”) and

Dynamic Industries Saudi Arabia, Ltd. (“DISA”) (collectively, “Plaintiffs”), who respectfully

submit this Opposition to the Motion to Dismiss and Supplemental Memorandum (R. Docs. 22,

56) filed by Defendant Marsh & McLennan Companies, Inc., d/b/a/ Marsh Inc. (“Marsh”). Marsh’s

Motion seeks dismissal of all claims against it, but fails to address proper legal standards, ignores

numerous relevant paragraphs of the First Amended Complaint for Declaratory Relief and

Damages (“First Amended Complaint”) (R. Doc. 35) and improperly attempts to raise factual

disputes at the Rule 12 stage. For these reasons, the Motion should be denied.

                                        FACTUAL BACKGROUND1

         Plaintiffs seek coverage under a comprehensive general liability policy of insurance –

issued by some of the named Defendants – for an offshore demolition accident that occurred in the


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           Plaintiffs acknowledge that they provide a number of additional facts in support of the allegations in the
First Amended Complaint. Plaintiffs attempted to plead a short, concise summary of these facts by noting the facts
that the Policy was allegedly placed in 2017, the claim occurred in September of 2019, and the Policy was, in fact, not
issued until after the claim. Due to the numerous factual assertions made by the moving Defendants which are contrary

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Berri Field in Saudi Arabia. This Policy was issued and delivered to Plaintiffs in Louisiana, not

Saudi Arabia, and Defendant Marsh played a role in that delivery.

  I.     The Contract and the Policy

         In 2015, DISA and Saudi Arabian Oil Company (“SAUDI ARAMCO”) entered into a

contract for procurement and construction, and, in 2016, a contract purchase order (collectively,

the “Contract”) to procure, fabricate, load-out, transport, demolish, replace install, test and pre-

commission five (5) replacement pipelines and associated topside scraping facilities located in the

Berri oil field in the Kingdom of Saudi Arabia (the “Project”). (R. Doc. 35, ¶ 15). Performance of

the Contract by DISA was guaranteed by DI through a Parent Company Performance Guarantee,

rendering DI directly liable for the obligations of DISA under the Contract. (Id. at ¶ 16). The

Contract contains a clause obligating DISA to SAUDI ARAMCO for certain property damage

caused by DISA or any of its subcontractors (at any tier) and fully responsible to SAUDI

ARAMCO for the acts and omissions of all of its subcontractors. (Id. at ¶ 17).

         Plaintiffs initiated the process of obtaining insurance on behalf of all three Dynamic-related

companies for operations under the Contract. (Declaration of M. Mahfouz at ¶ 5, attached hereto

as Exhibit A). The Dynamic companies utilized the brokerage services of Marsh, through its

subsidiary Marsh USA, Inc. D/B/A MARSH USA RISK SERVICES (“Marsh USA”), in order to

procure an adequate insurance policy under the Contract, insuring all of the Dynamic companies.

(Exh. A at ¶¶ 5-6). Through the coordinated efforts of Marsh, Marsh USA and Marsh KSA,2

Plaintiffs were told by the Marsh entities that a comprehensive general liability policy of insurance

(the “Policy”) from MetLife American International Group and the Arab National Bank



to, or at least inconsistent with, the actual dealings between the parties hereto, Plaintiffs are compelled to provide
additional facts for the Court’s consideration of the pending motions.
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             Marsh Saudi Arabia Insurance & Reinsurance Brokers Saudi Arabia Riyadh.


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Cooperative Insurance Company (“MetLife-AIG-ANB” or “MAA”) had been obtained. (See Exh.

A at ¶ 7). Marsh informed Plaintiffs that it had provided the required insurance coverage to cover

the Dynamic entities at all relevant times during the Project. (Id.) Marsh USA understood, through

discussion with Plaintiffs, that Plaintiffs wished to procure all necessary primary insurance to

protect them as required under the Contract. (R. Doc. 35 at ¶ 20).

         While the Policy was supposed to be procured in January 2017 by and through Marsh,

through its subsidiary Marsh USA, in New Orleans, Louisiana, with Plaintiffs utilizing the

insurance services and expertise of Marsh and/or Marsh USA to acquire the necessary coverage as

required by the Contract, this, in fact, did not occur. (See Exh. A at ¶ 14; Exh. A-4). On January

20, 2017, DI issued its “Insurance Placement” letter to Marsh USA, Inc., with DI’s EVP and Chief

Financial Officer executing the letter on Dynamic letterhead and DI’s New Orleans address. (See

Exh. A at ¶ 9; Exh. A-1). Regardless, Plaintiffs relied upon, and indeed paid for, the expertise and

recommendations of Marsh USA and/or Marsh to procure the necessary insurance protecting

Plaintiffs from any loss as required under the Contract. (See R. Doc. 35 at ¶ 19; Exh. A at ¶¶ 9-

11). For the services provided by “Marsh,” Dynamic Energy Service International LLC, the parent

company of DI, paid Marsh at least $25,000 for brokerage services. (See Exh. A-3). Additionally,

the premium for the Policy was invoiced to Plaintiff DISA on April 7, 2017 and paid on September

9, 2017. (See Exh. A-4). In 2017, no Marsh entity ever requested a Broker of Record, Broker Letter

of Letter Authorization, Proposal Form or any similar document from any of the Plaintiffs. (See

Exh. A at ¶ 14). On or about February 02, 2017, MAA provided the Dynamic entities via email

to New Orleans with a Certificate of Insurance identifying the name and address of the Insured as

“Dynamic Industries International LLC, 10777 Westheimer Rd Suite 975 USA”. (Exh. A-2).




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         Although the Policy was supposed to be issued for the period January 12, 2017 to January

11, 2021, no actual policy was ever delivered to Plaintiffs until November of 2019, after the loss

in question. (See Exh. A-5). Marsh KSA, acting as an agent of the insurer, did not provide Plaintiffs

with the actual, written Policy until November 19, 2019. (R. Doc. 35, ¶ 75; see also Exh. A-5).

 II.     The Incident

         On June 25, 2019, while performing work on the Project, a subcontractor of DISA damaged

a submarine power cable owned by SAUDI ARAMCO (the “Incident”). (R. Doc. 35 at ¶ 23). This

discovery was reported to DISA on or about September 7, 2019. (Id. at ¶ 36). SAUDI ARAMCO’s

formal investigation into the cause of the damage ultimately revealed that the damage to the cable

was occasioned during the demolition operation in connection with the Project and pursuant to the

Contract. (Id. at ¶ 28). DISA received formal notice of this discovery on March 24, 2020, at which

time SAUDI ARAMCO requested that DISA, and by extension DI, rectify the damage pursuant

to the express terms of the Contract and implement temporary repair solutions by April 30, 2020

in order to allow for installation of a new cable by March of 2021. (Id. at ¶ 29). On April 7, 2020,

SAUDI ARAMCO reiterated its request that DISA submit an action plan for the temporary

solution and permanent replacement of the damaged cable, noting its criticality to SAUDI

ARAMCO’s other operations. (Id. at ¶ 31).

III.     The Merger

         Around the time of the discovery of the damaged submarine power cable, the insurer to

Plaintiffs’ Policy, MAA, allegedly commenced discussions about a potential merger deal with

Walaa Cooperative Insurance Company (“Walaa”). On September 29, 2019, after the Plaintiffs’

Policy was supposedly procured by Marsh with MAA as the underwriting concern, but before the

Policy was ever actually “issued and delivered” to Plaintiffs, MAA and Walaa executed a merger

agreement (the Merger”). Under the terms of this merger, Walaa fully absorbed MAA and

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purportedly assumed full responsibility for all of MAA’s liabilities. Based on the allegations in the

Complaint, the Declaration of Syed Siddiq (R. Doc. 44-4) and the terms of the only document

provided by the involved parties, there was no policy “issued” as of the merger and none of the

Defendants have provided unequivocal evidence that the Policy – a liability issued under the

authority of MAA as the underwriting concern – was actually issued by Walaa or assumed by

Walaa.

         When the Policy was finally issued and delivered on November 14, 2019, the Policy listed

MAA as the insurer, despite the fact that MAA was allegedly absorbed by Walaa under the terms

of the Merger. (See Exh. A-5). In fact, at no time until the claim was denied was a representative

of Plaintiffs ever aware that Walaa identified itself as the underwriter of the Policy. (See Exh. A

at ¶ 34). Because the Policy was delivered on MAA’s letterhead after the merger, Plaintiffs are

unclear as to whether the Policy was a liability that was absorbed by Walaa under the terms of the

merger. As a result, Plaintiffs have sued both MAA and its purported successor in interest Walaa,

as well as American Life Insurance Company (“ALICO”) and AIG MEA Investments and Services

Company (“AIG MEA”), two domestic companies that owned MAA at the time the policy of

insurance in question was issued and may have successor liability for MAA’s obligations.3

IV.      The Claim

         Because Plaintiffs have direct contractual liability to SAUDI ARAMCO and its affiliates

for certain property damage under the terms of the Contract, in the Fall of 2019 Plaintiffs sought

primary insurance coverage under the Policy issued by MAA. Acting from New Orleans,

Louisiana, a Dynamic representative contacted Marsh’s New Orleans office to notify Marsh of the

loss. (See Exh. A-6). In turn, the local Marsh representative located in the New Orleans office –


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             Plaintiffs have since dismissed ALICO and AIG MEA under Rule 41(a)(1)(A)(i), without prejudice.


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Theresa Bonin – contacted her Marsh counterpart in Saudi Arabia to provide notification of the

loss on behalf of “Dynamic.” (Id. at p. 10). Notably, in that transmission, the Marsh representative

stated: “In reviewing our files and emails we cannot locate a copy of the MetLife AIG ANB

Cooperative Insurance Company policy, although we do have copies of the reinsurance totaling

87.5%.” (Id.) The Marsh representative closed by asking for a copy of the Policy and “that your

email of January 17, 2017 [over two and a half years earlier] advised that ‘In terms of claims, the

local insurer will follow lead reinsurer’s decision.’” (Id.) Dynamic’s General Counsel responded

to this email with known details of the claim. (Exh. A-6 at p. 9).

         The recipient of this first notice – a Marsh KSA employee4 – responded noting that Marsh

would notify the “lead reinsurer Chubb Dubai for a potential insurance claim.” (Id. at 8 (emphasis

added)). This communication was between the local Marsh representatives (Bonin and Laborde),

Dynamic’s General Counsel (Mark Mahfouz) and Marsh KSA’s office. Bonin – acting as Marsh

USA – responded reiterating the need for the “local policy today.” (Id.) The “Marsh” representative

responded concerning the Chubb policy, to which Bonin asked “[w]hy was the MetLife AIG ANB

Cooperative Insurance Company policy not issued?” (See id. at 7). She further commented: “The

reinsurance policies do not provide 100% - only 87.5%. The certificate shows policy number

‘TBA’. It seems important to us to have the actual policy and a policy number.” (See id.)

         After several email communications concerning the lack of provision of any policy among

the Marsh employees, all of which included Dynamic’s general counsel in New Orleans, on

October 30, 2019, Plaintiffs requested an update on when it could expect delivery of the Policy.

(Id. at p. 1). On November 4, 2019, Marsh responded as follows:

         There have been discussions with the ANB MetLife on the policy document
         issuance. The file has been reviewed by their reinsurance manager and as of

         4
             Vivek.Parkash@marsh.com.


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         this week the main direct insurance underwriter has been asked to list out his
         requirements that will enable him to issue the policy wordings.

(Exh. A-7 at p. 3 (emphasis added)). One day later, the Marsh KSA representative advised that

there was a “contentious” meeting in Riyadh with ANB (one of the members of the MetLife AIG

ANB Cooperative), who initially rejected issuing a policy. (Exh. A-8 at p. 1). This rejection was

allegedly based on the “non-submission” of regulatory documents. One of these documents was

the BOR, or Broker of Record, letter, which is noted in the Declaration of Syed Siddiq (R. Doc.

44-4). On November 5, 2019, Marsh KSA forwarded to Dynamic a number of documents that

were represented as required by ANB, the basis on which ANB would issue the Policy. (See Exh.

A-8). Included within these documents was the “underwriting information” that the insurers had

received.      The underwriting information contained email communications from Dynamic

representatives about the Project and identified Dynamic Industries, Inc. (Exh. A-8 at pp. 10-33).

         Marsh subsequently requested the help of both Dynamic in New Orleans and Marsh in

New Orleans in order to obtain issuance of the Policy. (See Exh. A at ¶ 24). In order to issue the

Policy, Marsh requested – from New Orleans – the back-dated execution of two documents: (1) a

Broker’s Letter Authorization (“BLA”); and (2) a Proposal Form from MAA.5 (See Exh. A-7 at

p. 2). Marsh also noted the “underwriting information” for the project, a .zip file that includes

various communications form the Plaintiffs. (See Exh. A-8). With respect to the Proposal Form,

Bonin responded on November 6, 2019 as follows: “With respect to the Proposal Form, ANB

issued the attached COI confirming that they were on risk as of 12 January 2017 and your email

of 26 January 2017, copy attached, also confirmed 100% cover placed. The client should not need

to submit any additional information at this time.” (Exh. A-7 at p. 1).



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          At no time prior to November of 2019 were Plaintiffs ever advised by Marsh or MAA that a BLA or
Proposal Form was required to issue the Policy. (See Exh. A at ¶ 26).


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         The Marsh representative replied that required submission of the Proposal Form after the

loss was “inflexible” and deemed a regulatory requirement by ANB prior to issuance of a policy.

(Id.) On November 6, 2019, Dynamic’s general counsel, from New Orleans, sent Marsh the signed

BLA on behalf of DISA. (Exh. A at ¶ 29; A-9). No such letter was ever requested on behalf of

DII or DI. (Exh. A at ¶ 29). The BLA was signed by DISA in November of 2019, despite it being

back dated January 1, 2017 as demanded by Marsh and/or ANB and/or the underwriters for the

Policy. (Exh. A at ¶¶ 28-29). Marsh USA was a copy recipient of the BLA. (Exh. A-9 at pp. 6-7).

         On November 8, 2019, Marsh, acting for the insurers, advised that Plaintiffs would have

to back date the Proposal Form to December of 2016 or a date in January of 2017 to “factually

align with the information submitted by Dynamic to Marsh and by Marsh to the insurer at that

time.” (Exh. A-10 at p. 1). The Proposal Form was then signed by Dynamic and sent by Dynamic

– from its New Orleans offices – for delivery to the underwriters, which Marsh confirmed was

“submitted to the insurance company.” (Exh. A-11 at p. 1). Thereafter, on November 14, 2019,

the Policy was electronically mailed to Plaintiffs by Marsh on behalf of the insurers, and also

mailed in hard copy to Dynamic and received by Dynamic in New Orleans, Louisiana.6 (Exh. A

at ¶ 35).

         In the BLA dated January 1, 2017, Plaintiff DISA exclusively appointed Marsh KSA to

communicate on DISA’s behalf with any insurance company located in Saudi Arabia. (See Exh.

A-9 at pp. 6-7). Importantly, while the appointment certainly authorized Marsh KSA to initiate

communications regarding the procurement of any insurance policy, it did not authorize Marsh

KSA to procure any insurance policy or take delivery of any policy, either on DISA’s behalf or




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           In fact, Plaintiffs have no record of the Policy ever having been delivered by anyone to any Dynamic entity,
including DISA, in Saudi Arabia. (Exh. A at ¶ 35).


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the other Plaintiffs. Rather, the actual procurement of an insurance policy was the responsibility

of Marsh, and the delivery of the policy was the responsibility of the insurer. The Policy was never

delivered to any Dynamic entity in Saudi Arabia. (Exh. A at ¶ 36). The Policy was formally issued

as of November 14, 2019, after the Merger. It bears the official company stamp of MAA.

 V.      The Denial

         After multiple telephone conferences between Plaintiffs and counsel for MAA, MAA

denied coverage under the Policy via an email dated September 28, 2020. (See Exh. A-13). Upon

receipt of denial, Plaintiffs contacted their broker Marsh, through its subsidiary Marsh USA, for

assistance in appealing the denial of Plaintiffs’ claim under the Policy. (See Exh. A-14). Thereafter,

Marsh USA initiated discussions with Marsh KSA to facilitate such conversations between Marsh

USA and the claims manager responsible for reevaluating the Plaintiffs’ claim under the Policy.

(See Exh. A-15). Marsh KSA obtained and provided the contact information for the MAA claim

manager of the Policy, and Plaintiffs contacted the claim manager shortly thereafter. (See Exh. A-

16). After the MAA claim manager failed to provide a substantive response to multiple emails

regarding coverage, Plaintiffs sent one final demand letter requesting coverage under the Policy

on February 12, 2021. (See Exh. A-17). MAA denied coverage, so the claim is now ripe for review.

                                    LAW AND ARGUMENT

  I.     This Court Has Subject Matter Jurisdiction

         Marsh first seeks to dismiss the Amended Complaint based on a lack of subject matter

jurisdiction. “A motion to dismiss for lack of subject-matter jurisdiction should be granted only if

it appears certain that the plaintiff cannot prove any set of facts in support of his claims entitling

him to relief.” Sureshot Golf Ventures, Inc. v. Topgolf Int’l, Inc., 754 F. App’x 235, 239 (5th Cir.

2018) (citing Wagstaff v. U.S. Dep’t of Educ., 509 F.3d 661, 663 (5th Cir. 2007)).




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         As an initial matter, the argument raised by Marsh with respect to this Court’s admiralty

jurisdiction is moot, as Plaintiffs have asserted an additional basis for subject matter jurisdiction

in their First Amended Complaint – diversity of citizenship jurisdiction. (R. Doc. 35 at ¶ 12).

Indeed, the diversity statute generally provides for federal jurisdiction over suits involving foreign

citizens or subjects in two scenarios. First, the statute contemplates federal jurisdiction over a

lawsuit where the amount in controversy exceeds $75,000 and the suit is between citizens of an

American state and citizens or subjects of a foreign state. 28 U.S.C. § 1332(a)(2). The diversity

statute also expressly provides for jurisdiction where the amount in controversy exceeds $75,000

and the suit is between citizens of states and in which citizens or subjects of a foreign state are

additional parties. 28 U.S.C. § 1332(a)(3).

         In this latter scenario, section 1332(a)(3) provides a federal court with jurisdiction where

the domestic parties on opposite sides of the case are diverse. Moreover, the diverse domestic

parties need not be the principal adversaries in the suit. As long as the diverse domestic parties

have a legitimate dispute, section 1332(a)(3) confers jurisdiction even when the main suit involves

one or more alien parties. It is irrelevant for diversity purposes that the aliens on both sides of the

dispute come from the same country. See, e.g., Tango Music, LLC v. Deadquick Music, Inc., 348

F.3d 244, 245–246 (7th Cir. 2003) (statute does not say “. . . citizens or subjects of different foreign

states,” and court could not think of reason to depart from literal reading); Bank of New York v.

Bank of America, 861 F. Supp. 225, 229 (S.D.N.Y. 1994) (aliens on opposite sides of an action

hail from the same country has no bearing on the existence of diversity under § 1332(a)(3)); Clark

v. Yellow Freight Sys., Inc., 715 F. Supp. 1377, 1378 (E.D. Mich. 1989) (jurisdiction exists under

§ 1332(a)(3) even though one plaintiff and one defendant were Canadian citizens, where there was

a legitimate dispute between a Michigan corporation and an Indiana corporation); Zenith Elec.



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Corp. v. Kimball Intern. Mfg., Inc., 114 F. Supp. 2d 764, 771 (N.D. Ill. 2000) (jurisdiction existed

where the domestic parties on opposite sides of the cases were diverse even though citizens of

Mexico were also present on both sides of the case). Therefore, the presence of aliens on opposite

sides of an action, even if they are citizens of the same foreign country, does not destroy diversity

jurisdiction where the domestic parties are diverse. Allendale Mutual Ins. Co. v. Bull Data Sys.,

Inc., 10 F.3d 425, 428 (7th Cir. 1993); Transure, Inc. v. Marsh & McLennan, Inc., 766 F.2d 1297,

1299 (9th Cir. 1985). Article III of the Constitution requires only minimal diversity. State Farm

Fire & Casualty Co. v. Tashire, 386 U.S. 523, 531 (1967); see also Verlinden B.V. v. Central Bank

of Nigeria, 461 U.S. 480, 492 n.18 (1983).

         Here, this Court has subject matter jurisdiction under section 1332(a)(3), as the amount in

controversy exceeds $ 75,000, the suit is between citizens of different states and citizens or subjects

of a foreign state are additional parties. The Plaintiffs include two Louisiana citizens and one Saudi

Arabian citizen. Likewise, the Defendants include two Delaware and New York citizens and two

Saudi Arabian citizens. As stated above, because the domestic parties are completely diverse and

have a legitimate dispute, the presence of foreign parties on opposite sides of the action does not

destroy diversity. While Marsh does not appear to challenge the amount in controversy or

citizenship of the domestic or foreign parties, it maintains that federal jurisdiction cannot be

conferred under Section 1332(a)(3) because the domestic parties do not have a “legitimate”

dispute. According to Marsh, there is no legitimate dispute between the domestic parties because

the principal dispute is between the additional foreign parties.

         This argument does not pass muster, either factually or legally. First, the dispute between

the Marsh defendants and Plaintiffs is “legitimate.” The actions or inactions of Marsh between

2017 (when the Policy was supposed to be placed) and November of 2019, when the Policy was



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actually delivered, bear directly on this dispute. Further, there is no requirement that the diverse

domestic citizens be principal adversaries, only that they be legitimate adversaries. Dresser Indus.

v. Underwriters at Lloyd’s of London, 106 F.3d 494, 500 (3d Cir. 1997); see also 15A Moore’s

Federal Practice - Civil § 102.71 (2021). In Dresser, the defendant (London Market Insurers)

argued that the addition of a domestic insurer holding 0.564% of the policy was not “legitimate”

because the London Market Insurers were the principal parties. The court rejected this argument,

stating that so long as there is a “legitimate” dispute between the citizens involved, jurisdiction

under 28 U.S.C. § 1332(a)(3) exists. The court noted that the term “additional” does not reference

the level of involvement of the parties or the interests at stake; rather, all that is required is a

legitimate controversy between diverse citizens. Id. at 500.

         Here, the domestic Plaintiffs DI and DII clearly have a legitimate dispute with the domestic

Defendants Marsh and Marsh USA as the agents and/or brokers to the insurance policy at issue.

By way of example, the Plaintiffs, which include two Louisiana citizens, seek to recover from

Marsh, a Delaware and New York citizen, based on the assertion that Marsh procured an excess

insurance policy when it should have procured a primary insurance policy. The failure to procure

an adequate insurance policy is clearly a legitimate dispute, providing this Court jurisdiction under

section 1332(a)(3). For these reasons, Marsh’s Motion to Dismiss based on a lack of subject matter

jurisdiction should be denied.

 II.     This Court Has Personal Jurisdiction Over Marsh

         Marsh also seeks to dismiss the suit for lack of personal jurisdiction. Rule 12(b)(2) of the

Federal Rules of Civil Procedure permits dismissal of a suit for lack of personal jurisdiction.

    A. Legal Standard

         Where a defendant challenges personal jurisdiction, the party seeking to invoke the power

of the court bears the burden of proving that jurisdiction exists. Luv N’Care, Ltd. v. Insta-Mix, Inc.,

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438 F.3d 465,469 (5th Cir. 2006). The plaintiff need not, however, establish jurisdiction by a

preponderance of the evidence; a prima facie showing suffices. Id.; see also D.J. Investments, Inc.

v. Metzler Motorcycle Tire Agent Gregg, Inc., 754 F.2d 542, 545-46 (5th Cir. 1985). The court

must accept the plaintiff’s uncontroverted allegations, and resolve all conflicts between the facts

contained in the parties’ affidavits and other documentation in favor of jurisdiction. Long v. Patton

Hosp. Mgmt., LLC, No. 15-2213, 2016 U.S. Dist. LEXIS 23825 (E.D. La. Feb. 26, 2016).

         “In a diversity action, federal court jurisdiction over a nonresident defendant extends only

to the limits permitted by the long-arm statute of the forum state.” Quasha v. Shale Dev. Corp.,

667 F.2d 483, 485-486 (5th Cir. 1982) (citations omitted). The limits of the Louisiana Long-Arm

Statute are coextensive with constitutional due process limits, and, accordingly, the sole inquiry

into jurisdiction over a nonresident is whether it comports with constitutional due process

requirements. Walk Haydel & Associates, Inc. v. Coastal Power Prod. Co., 517 F.3d 235, 242-43

(5th Cir. 2008) (citing A&L Energy, Inc. v. Pegasus Group, 791 So.2d 1266, 1270 (La. 2001)); La.

R.S. 13:3201(B) (“a court of this state may exercise personal jurisdiction over a nonresident on

any basis consistent with the constitution of this state and of the Constitution of the United

States”). “The Louisiana Long-Arm Statute is to be interpreted liberally in favor of finding

jurisdiction . . . and is to extend to the full limits of due process under the fourteenth amendment.”

Quasha, 667 F.2d at 486 (citations omitted). Accordingly, to determine whether personal

jurisdiction exists over Marsh, a due process inquiry is all that is necessary.

         “To comport with due process requirements in asserting in personam jurisdiction, a

nonresident defendant must have certain ‘minimum contacts’ with the forum state ‘such that

maintenance of the suit does not offend ‘traditional notions of fair play and substantial justice.’”

Id. (quoting International Shoe Co. v. Washington, 326 U.S. 310, 316 (1945)). Minimum contacts



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are satisfied either through contacts sufficient to assert specific jurisdiction, or contacts sufficient

to assert general jurisdiction. Id.

         Specific jurisdiction exists when an action arises out of a defendant’s contacts with the

forum and a relationship among the defendant, the forum and the litigation is the essential

foundation of in personam jurisdiction. Shaffer v. Heitner, 433 U.S. 184, 204 (1977); DeReyes v.

Marine Mgmt. & Consulting, Ltd., 586 So. 2d 103, 105 (La. 1991). The minimum contacts test

may be satisfied by a single act or action by which the defendant purposefully avails itself of the

forum state. See Burger King Corp. v. Rudzewicz, 471 U.S. 462, 475 (1985). In examining whether

specific jurisdiction exists, a court will inquire into (1) “whether the defendant has minimum

contacts with the forum state, i.e., whether it purposely directed its activities toward the forum

state or purposely availed itself of the privilege of conducting activities there,” (2) “whether the

plaintiff’s cause of action arises out of or results from the defendant’s forum-related contacts,” and

(3) “whether the exercise of personal jurisdiction is fair and reasonable.” Cooper v. Faith Shipping,

No. 06-892, 2010 U.S. Dist. LEXIS 56780 (E.D. La. June 9, 2010). The “minimum contacts”

requirement can be satisfied by a single act if the non-resident defendant “purposefully avails itself

of the privilege of conducting activities within the forum state, thus invoking the benefit and

protection of its laws.” Burger King Corp. v. Rudzewicz, 471 U.S. 462, 475 (1985); see also Bullion

v. Gillespie, 895 F.2d 213, 216 (5th Cir. 1990) (“It is well settled that specific jurisdiction may

arise without the nonresident defendant’s ever stepping foot upon the forum state’s soil….”);

McGee v. International Life Ins. Co., 355 U.S. 220, 223 (1957) (a nonresident defendant need have

only one contact with the forum, so long as the contact is meaningful). “‘[M]inimum contacts’” is

not necessarily a numbers game; a single contract can fill the bill.” Pritzer v. Yari, 42 F.3d 53, 61

(1st Cir. 1994) (citing McGee, 355 U.S. at 223).



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         Once sufficient minimum contacts are found to exist for purposes of the due process

analysis, the inquiry then turns to whether exercising jurisdiction would offend traditional notions

of fair play and substantial justice. Asahi Metal Indus. Corp. v. Superior Court, 480 U.S. 102, 113

(1987). The burden is on the party opposing jurisdiction to show a “compelling case that the

presence of some other considerations would render jurisdiction unreasonable.” Hagan v. Stone,

No. 32,280 (La. App. 2 Cir. 9/22/99); 742 So. 2d 101 (emphasis added). As shown below,

sufficient minimum contacts exist such that Marsh USA and Marsh are subject to personal

jurisdiction in Louisiana and there is no compelling reason that would render the exercise of

jurisdiction unreasonable.

    B. Marsh’s Subsidiary, Marsh USA, Has Sufficient Minimum Contacts With Louisiana
       To Confer Specific Jurisdiction.

         Marsh makes unfounded allegations that it does not have sufficient forum-related contacts

with Louisiana and, therefore, it cannot be subjected to the jurisdiction of this Court. R. Doc. 56

at 9. This argument entirely ignores the First Amended Complaint’s allegations regarding the

procurement and issuance of the Policy in the forum state. By way of example, Plaintiffs, two of

whom are Louisiana subjects, utilized the brokerage services of Marsh USA, a subsidiary of Marsh

that is registered to do business in Louisiana, in order to procure an adequate insurance policy

under the Contract. Ruston Gas Turbines, Inc. v. Donaldson Co., 9 F.3d 415, 418-19 (5th Cir.

1993) (“A single act by the defendant directed at the forum state, therefore, can be enough to confer

personal jurisdiction if that act gives rise to the claim being asserted.”). Marsh USA coordinated

with Marsh KSA, its Middle Eastern counterpart and another member of the Marsh family, in order

to procure the Policy, and this coordination and effort was accomplished because these two

companies share a common owner. Marsh USA also received payment for its procurement of the




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Policy, as did Marsh KSA through the premium for the Policy, which revenue flowed to the parent,

Marsh. (R. Doc. 56-1 at pp. 45-48).

         After Plaintiffs’ claim for coverage under the Policy was denied, the Plaintiffs contacted

Marsh USA for assistance in appealing the denial. Thereafter, Marsh USA initiated discussions

with Marsh KSA to facilitate such conversations between Marsh USA and the claims manager

responsible for reevaluating the Plaintiffs’ claim under the Policy. Marsh USA was copied on

multiple emails between Marsh KSA and counsel for MAA discussing the Plaintiffs’ Policy. All

of these communications occurred with Dynamic in New Orleans, the local Marsh USA office,

and the Marsh KSA representative. Again, the interrelationship of the two Marsh subsidiaries is

crucial to the alter ego issue. The Policy was then issued and delivered to Plaintiffs, two of whom

were and are Louisiana subjects, in Louisiana. Because this litigation arises directly from these

forum-related contacts, Plaintiffs have made a prima facie showing that sufficient minimum

contacts exist over Marsh USA and, by extension, Marsh.

         All of this is further underscored by Marsh USA’s Managing Director’s statements when

discussing the renewal of the Policy. That communication exemplifies the unified approach of the

various Marsh entities in providing its “global professional services.”7 The Managing Director

states: “I am also following up on our conversations from a few weeks ago reading our local

office’s compensation. Considering the claims follow up and our continued engagement on the

policy placed by our Dubai offices, we propose an annual fee of $35,000.” (Exh. A-18). Clearly,

the Managing Director of Marsh USA was using the collective “our” to describe the efforts of both

Marsh subsidiaries in procuring this Policy.


         7
           “The Risk and Insurance Services segment provides risk management solutions, services, advice and
insurance broking, reinsurance broking and insurance program management services for businesses, public entities,
insurance companies, associations, professional services organizations, and private clients. The Company conducts
business in this segment through Marsh and Guy Carpenter.” (R. Doc. 56-1 at p. 69).


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    C. Exercise of Specific Jurisdiction Over Marsh USA Does Not Offend Traditional
       Notions of Fair Play and Substantial Justice

         Under the due process inquiry, “[e]ven if minimum contacts exist, the exercise of personal

jurisdiction over a non-resident defendant will fail to satisfy due process requirements if the

assertion of personal jurisdiction offends ‘traditional notions of fair play and substantial justice.’”

Ruston Gas Turbines, Inc., 9 F.3d at 421 (quoting Int’l Shoe, 326 U.S. at 316). Once a plaintiff has

established minimum contacts, the burden shifts to the defendant to show the assertion of personal

jurisdiction in the forum would be unfair or unreasonable. Wien Air Alaska v. Brandt, 195 F.3d

208, 215 (5th Cir. 1999). “It is rare to say the assertion is unfair after minimum contacts have been

shown.” Id. A court is to consider the following factors in making the fairness determination: (1)

the defendant’s burden, (2) the forum state’s interest, (3) the plaintiff’s interest in convenient and

effective relief, (4) the judicial system’s interest in efficient resolution of controversies, and (5)

the state’s shared interest in furthering fundamental social policies. Paz, 445 F.3d at 814; Ruston

Gas Turbines, Inc., 9 F.3d at 421. Here, Marsh has not met its burden in demonstrating that the

exercise of personal jurisdiction over Marsh and Marsh USA offend traditional notions of fair play

and substantial justice. As such, specific personal jurisdiction exists.

    D. This Court Has Jurisdiction Over Marsh Under a Single Business Enterprise Theory

         Because this Court has jurisdiction over Marsh’s subsidiary Marsh USA, Marsh is subject

to personal jurisdiction in this Court under the “single business enterprise” theory. Marsh’s

reliance on Transure, Inc. v. Marsh and McLennan, Inc., 766 F.2d 1297 (9th Cir. 1985) is

misplaced, as it is factually distinguishable, as the plaintiff in that case was not even a resident of

California – the forum state. Id. Moreover, the plaintiff in Transure sought to exercise general

jurisdiction over the nonresident defendant. Here, Plaintiffs seek to exercise specific jurisdiction

over Marsh because the conduct at issue was directed at Louisiana. This is integral, and a


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differentiating factor, in the Due Process analysis. Finally, Marsh cites to Transure for the

proposition that the existence of a relationship between a parent company and its subsidiaries is

not sufficient to establish personal jurisdiction over the parent company. Yet, the existence of

such relationship is sufficient to establish personal jurisdiction over the parent when the subsidiary

is or truly may be an alter ego of its parent corporation. A parent-subsidiary relationship with a

company that has minimum contacts in the forum state is insufficient on its own to justify personal

jurisdiction over the parent. Alpine View Co. Ltd. v. Atlas Copco AB, 205 F.3d 208, 218 (5th Cir.

2000) (quoting Hargrave v. Fibreboard Corp., 710 F.2d 1154, 1159 (5th Cir. 1983)); see also

Dickson Marine Inc. v. Panalpina, Inc., 179 F.3d 331, 338 (5th Cir. 1999). Rather, the plaintiff

must make a prima facie showing that the parent corporation so controls the subsidiary that the

activities of the subsidiary are attributable to the parent for jurisdictional purposes. Gardemal v.

Westin Hotel Co., 186 F.3d 588, 593 (5th Cir. 1999). In discussing how a plaintiff can overcome

the presumption of corporate separateness, the Fifth Circuit has stated:

         Invariably such clear evidence requires an additional or a “plus” factor, “something
         beyond the subsidiary’s mere presence within the bosom of the corporate family.”
         There must be evidence of one corporation asserting sufficient control to make the
         other its agent or alter ego. Moreover, the burden of making a prima facie showing
         of such symbiotic corporate relatedness is on the proponent of the agency/alter ego
         theory.

Dickson Marine Inc., 179 F. 3d at 338 (internal citations omitted). Contrary to Marsh’s assertions

that Marsh USA’s contacts with Louisiana cannot be imputed to Marsh for the purpose of

establishing jurisdiction, the Fifth Circuit has previously explained that, “‘[a] court which has

jurisdiction over a corporation has jurisdiction over its alter egos.’” Jackson v. Tanfoglio Giuseppe,

S.R.L., 615 F.3d 579, 586 (5th Cir. 2010) (citations omitted). “‘The theory . . . is that, because two

corporations (or the corporation and its individual alter ego) are the same entity, the jurisdictional

contacts of one are the jurisdictional contacts of the other for the purposes of the . . . due process


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analysis.’” Id. (quoting Patin v. Thoroughbred Power Boats, Inc., 294 F.3d 640, 652 (5th Cir.

2002)).

          In determining whether an entity is an alter ego or a single business enterprise, courts are

instructed to look at the following factors: (1) common ownership, directors and officers,

employees, and offices; (2) unified control;(3) inadequate capitalization;(4) non-compliance with

corporate formalities; (5) centralized accounting; (6) unclear allocation of profits and losses

between corporations; (7) one corporation paying the salaries, expenses, or losses of another

corporation; (8) and undocumented transfers of funds between entities. Id. (citing Hollowell v.

Orleans Reg’l Hosp. LLC, 217 F.3d 379, 385-89 (5th Cir. 2000)). Moreover, “[i]t should be noted

that the alter ego test for attribution of contacts, i.e., personal jurisdiction, is less stringent than that

for liability.” Stuart v. Spademan, 772 F.2d 1185, 1198 n.12 (5th Cir. 1985).

          Here, there is a “plus factor” as it is clear that Marsh and Marsh USA operate as a single

business enterprise using all of the various Marsh agencies to provide global insurance solutions

and products. That is the crux of the factual scenario presented in this case. Marsh’s Annual Report

describes its risk and insurance services as follows:

          The Company is a global professional services firm offering clients advice in the
          areas of risk, strategy and people. The Company’s 76,000 colleagues advise clients
          in over 130 countries. With annual revenue of $17 billion, the Company helps
          clients navigate an increasingly dynamic and complex environment through four
          market-leading businesses.

(R. Doc. 56-1 at p. 4; see also id. at p. 32 (“We conduct business globally. In 2020, approximately

53% of the Company’s total revenue was generated from operations outside the United States, and

over one-half of our employees were located outside the United States.”)). The Risk and Insurance

Services – including both Marsh USA and Marsh KSA -- generated approximately 60% of the

Company’s total revenue in 2020 and employs approximately 44,100 colleagues worldwide. (Id.).



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         As noted by Marsh, Marsh and Marsh USA have common officers, as one of Marsh’s

executive officers is also a director of Marsh USA. (R. Doc 56). Additionally, the “Consolidated

Statements of Income” reported by Marsh in its 10-K creates an unclear allocation of profits and

losses between Marsh and Marsh USA. (R. Doc. 56-1 at p. 64). The facts cited above by Plaintiffs

underscore the interrelationship among and between Marsh USA, Marsh KSA and Marsh as a

single business enterprise. Specifically, Marsh used the services of both Marsh USA and Marsh

KSA in order to sell a single product – the Policy, for which Marsh received compensation. The

10-K further notes that Marsh “does not have significant operations of its own” and “is dependent

upon dividends and other payments from its operating subsidiaries to pay principal and interest on

its outstanding debt obligations, pay dividends to stockholders, repurchase its shares and pay

corporate expenses.” (R. Doc. 56-1 at p. 50). Here, Plaintiffs have specifically alleged that Marsh

and Marsh USA operate as a single global enterprise by which all employees utilize the

“marsh.com” email domain and conduct business by and between various Marsh affiliates and

subsidiaries to service clients. Moreover, in this particular case, contact with Marsh was initiated

in New Orleans by Plaintiffs seeking coverage for their overseas work. “Marsh” did procure that

insurance – not once but twice – through continuous and systematic contacts with Plaintiffs in New

Orleans. Moreover, the First Amended Complaint contains allegations that Marsh advertises its

services to the general public as a “global leader in insurance broking and risk management” and

relies upon the joint collective efforts of its wholly-owned subsidiaries, including Marsh USA. (R.

Doc. 35 at ¶ 82). Finally, Plaintiffs allege that Marsh advertises all of its various subsidiaries as

“Marsh Location Sites” in its general advertisements on the internet. (Id.)

         The facts of this lawsuit satisfy the “plus factor,” and Marsh USA’s contacts should be

imputed to Marsh and the motion to dismiss denied.



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    E. In the Alternative, the Court Should Allow Jurisdictional Discovery

         Plaintiff firmly believe that the evidence supporting personal jurisdiction is sufficient to

support the necessary prima facie showing. However, to the extent the Court has any doubt

whatsoever, Plaintiffs request the opportunity to conduct jurisdictional discovery concerning the

factual issues raised in Marsh’s Motion, the relationship of the Marsh entities, and the specific

facts relating to this Policy, including the events of September 2019 onwards and all

communications concerning the Policy and its issuance. When the defendant disputes jurisdiction,

the court may receive interrogatories, depositions, or “any combination of the recognized methods

of discovery” to help it resolve the jurisdictional issue. Walk Haydel & Assocs., Inc. v. Coastal

Power Prod. Co., 517 F.3d 235, 242-43 (5th Cir. 2008).

III.     The Complaint States a Claim Against Marsh Upon Which Relief Can Be Granted

         On a motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6), the court

must accept all well-pleaded, non-conclusory facts in the complaint as true and view them in a

light most favorable to the plaintiff. Sonnier v. State Farm Mutual Auto Ins. Co., 509 F.3d 673,

675 (5th Cir. 2007) (emphasis added). “[A] complaint should not be dismissed for failure to state

a claim unless it appears beyond doubt that the plaintiff can prove no set of facts in support of his

claim which would entitle him to relief.” Ramming v. U.S., 281 F.3d 158, 161 (5th Cir. 2001)

(citing Conley v. Gibson, 355 U.S. 41, 45–46 (1957)). “[O]nce a claim for relief has been stated, a

plaintiff ‘receives the benefit of imagination so long as the hypotheses are consistent with the

complaint.’” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 563 (2007) (citations omitted). “In seeking

dismissal for failure to state a viable claim, a defendant thus bears the very high burden of showing

that the plaintiff cannot conceivably prove any set of facts that would entitle him to relief.” Beck

v. Deloitte & Touch, Deloitte, Haskins & Sellers, Ernest & Young, L.L.P., 144 F.3d 732, 735–36

(11th Cir. 1998) (internal citations omitted).

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    A. The First Amended Complaint Adequately Alleges That Marsh Failed to Procure
       Adequate Insurance

         First, Marsh alleges that Plaintiffs’ First Amended Complaint should be dismissed for

failure to state a claim against Marsh because it did not procure the Policy at issue. Marsh does not

argue that the First Amended Complaint fails to provide any legally cognizable claims against

Marsh. Instead, it disagrees with the facts pled. For instance, contrary to the well-pled factual

allegations raised in the First Amended Complaint, Marsh alleges that neither Marsh nor Marsh

USA acted as an insurance agent for DISA or Dynamic. However, factual disputes are an

inappropriate basis for a motion to dismiss. Andrew v. Clark, 561 F.3d 261, 267 (4th Cir. 2009)

(“disputed issue[s] of material fact [] cannot be decided on a motion to dismiss pursuant to Rule

12(b)(6)”). The court must disregard any contrary allegations of the opposing party. See A.S. Abell

Co. v. Chell, 412 F.2d 712, 715 (4th Cir. 1969); Bosiger v. U.S. Airways, 510 F.3d 442, 450 (4th

Cir. 2007) (finding that a court “is not to . . . resolve factual disputes when ruling on a motion to

dismiss”). Because Plaintiffs have alleged a plausible claim for relief against Marsh – the failure

to procure adequate insurance coverage, including the failure to timely and properly bind the

insurance – Marsh’s Motion to Dismiss should be denied.

    B. The First Amended Complaint’s Allegations Regarding Single Business Enterprise
       Theory Are Adequately Pled

         Marsh additionally maintains that the Plaintiffs’ single business enterprise theory claims

should be dismissed because the Plaintiffs make conclusory allegations, rather than allege specific

facts sufficient to state a cause of action. To the contrary, Plaintiffs’ allegations have been pled

with more than reasonable specificity. As stated supra, in determining whether two entities operate

as a single business enterprise, courts are instructed to look at the following factors: (1) common

ownership, directors and officers, employees, and offices; (2) unified control; (3) inadequate

capitalization; (4) non-compliance with corporate formalities; (5) centralized accounting; (6)

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unclear allocation of profits and losses between corporations; (7) one corporation paying the

salaries, expenses, or losses of another corporation; and (8) undocumented transfers of funds

between entities. Hollowell v. Orleans Reg’l Hosp. LLC, 217 F.3d 379, 385-89 (5th Cir. 2000).

As previously explained above, the allegations in the Plaintiffs’ First Amended Complaint are

sufficient to state a cause of action under a single business enterprise theory.

IV.      The Plaintiff’s Claims Are Not Perempted Under La. Rev. Stat. 9:5606

         Defendant Marsh further argues that Plaintiffs’ claims are perempted under both the one-

year and the three-year peremptive periods set forth in La. R.S. 9:5606. La. R.S. 9:5606 in pertinent

part provides that: “[a]ll claims for damages against an insurance agent must be brought within

one year from the date of the alleged act, omission, or neglect, or within one year of Plaintiff’s

discovery of the alleged act, omission, or neglect.” The statute also imposes a three-year

peremptive limit on these actions regardless of whether or not it was filed within the one-year

limitation period. As summarized by the Fifth Circuit Court of Appeals, the statute requires a

plaintiff to file suit “within one year of the plaintiff’s knowledge or constructive knowledge of the

act, omission, or neglect that led to the cause of action, and no later than three years after the act,

omission, or neglect actually occurred.” Campbell v. Stone Ins., 509 F.3d 665, 670 (5th Cir. 2007).

         The pertinent jurisprudence supports a finding that the subject claim is not perempted.

Admittedly, Louisiana courts have previously found that the one-year peremptive period under La.

Rev. Stat. § 9:5606 begins to run when the insured receives a copy of the original policy. (See R.

Doc. 22-1 at p. 9). However, there are exceptions, some of which are applicable here. For instance,

in Romero v. Travelers Indem. Co. of Connecticut, 2006 U.S. Dist. LEXIS 90124 (E.D. La. Dec

12, 2006), this Court held that an insured has a right to rely on what the agent represents and,

therefore, peremption may start running on a later date than when the policy was delivered. It

explained:

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         Arguably, Romero could have discovered any gaps in her insurance coverage by
         carefully reading the policy. At the same time, without further factual development,
         the Court cannot determine whether Romero was lulled into complacency by
         representations made by Haeuser. The facts may disclose that Romero’s reliance
         was well-founded, regardless of the actual language of the policy, and that Romero
         therefore is excused from its failure to discover the problem earlier.

Id. (emphasis added). An identical result was reached in Hoffman v. Alliance Ins. Agency Services,

Inc., 2007 U.S. Dist. LEXIS 52378 (E.D. La. Jul 19, 2007) where the insureds alleged that they

relied on what their agent advised them about coverage. Similarly, in Southern Athletic Club, LLC

v. Hanover Ins. Co., 2006 U.S. Dist. LEXIS 66634 (E.D. La. 2006), the court held that the insured’s

claim was not perempted because he did not learn he was underinsured until after the loss. That is

similar to what happened in this case, as the communications between September of 2019 and the

first denial of coverage all indicated coverage was not at issue. Indeed, Plaintiffs were contacted

by an adjusting firm indicating that the claim was covered. (Exh. A-14, A-15 and A-16).

         Although the effective start date of the Policy was January 12, 2017, the Plaintiffs did not

receive a copy of the Policy until November 14, 2019. Indeed, as established in the facts, no policy

was issued until November 2019. Moreover, as the time of the issuance of the Policy, Plaintiffs

were definitely lulled into complacency as the Notice of Claim was submitted and the Policy was

then issued. Clearly, this indicated to Plaintiffs that they had coverage. While the Plaintiffs

certainly had the opportunity to review the Policy upon receipt in order to discover any issues in

coverage, they relied upon the expertise and advices of their brokers, namely Marsh. As such, the

one-year preemptive period could not have begun to run any earlier than November 14, 2019, as

Plaintiffs did not yet have constructive knowledge of Defendants Marsh and/or Marsh USA’s

failure to procure the requested coverage.

         Plaintiffs did not learn about this failure to procure the requested coverage until September

28, 2020, when counsel for MAA denied coverage, notifying the Plaintiffs in writing that the policy


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procured by Marsh was an excess policy. (See Exh. A-13). Therefore, the Plaintiffs’ claims are not

perempted under the one-year preemptive period as they timely filed their original Complaint on

April 13, 2021, less than one year after the September 28, 2020 date on which they were apprised

of Marsh and/or Marsh USA’s failure to procure an adequate policy. Nor are Plaintiff’s claims

perempted under the three-year period as they filed suit within three years of November 14, 2019,

the date on which Marsh and/or Marsh USA’s failure actually occurred. Accordingly, Marsh’s

preemption argument fails.

                                         CONCLUSION

         For the forgoing reasons, the Motion to Dismiss filed by Marsh & McLennan Companies,

Inc. should be denied.

                                              Respectfully submitted,

                                              /s/ L. Etienne Balart
                                              EDWARD D. WEGMANN (La. #13315)
                                              L. ETIENNE BALART (La. #24951), T.A.
                                              LAUREN C. MASTIO (La. #33077)
                                              TAYLOR K. WIMBERLY (La. #38942)
                                              JONES WALKER LLP
                                              201 St. Charles Avenue, 48th Floor
                                              New Orleans, Louisiana 70170-5100
                                              Telephone: 504-582-8584
                                              Facsimile: 504-589-8584
                                              Email: ebalart@joneswalker.com
                                                      dwegmann@joneswalker.com
                                                      lmastio@joneswalker.com
                                                      twimberly@joneswalker.com
                                              Attorneys for Plaintiffs

                                 CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing document has served on all counsel of record

by hand, electronic filing, facsimile, email, and/or depositing a copy of same in the U. S. mail,

postage prepaid this 24th day of August, 2021.

                                              /s/ L. Etienne Balart

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